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IN THE UNITED STATES DlSTFthT COURT H w l

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UN|TED STATES OF AN|EFt|CA
Plaintiff

VS.
CR. NO. 04-20466-B

DWAYNE BECTON,

Defendant.

 

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AND _SLTLNG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August ‘i, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
Q|Mlate of Nlondav, September 26. 2005. at 9:30 a.m., in Courtroom 1. 1‘lth Floor
of the Federal Building, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends otjustice served in allowing for additional
time to prepare outweigh the need for a spe dy tria|.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20466 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

